      Case 3:20-cv-00168-X Document 1 Filed 01/23/20               Page 1 of 7 PageID 1



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 DALLAS POLICE AND FIRE                       §
 PENSION SYSTEM,                              §
                                              §          Civil Action No.: 3:20-cv-00168
        Plaintiff,                            §
                                              §
 v.                                           §               JURY DEMANDED
                                              §
 CITY OF DALLAS,                              §
                                              §
        Defendant.                            §

                          PLAINTIFF'S ORIGINAL COMPLAINT

       Comes now the Dallas Police and Fire Pension System ("DPFPS") and alleges as follows:

                                                I.
                                          INTRODUCTION

       1.      This is an action to recover pension contributions due from the City of Dallas

(the "City") owed for periods of military service by police officers and firefighters. In 1994,

Congress passed the Uniformed Services Employment and Reemployment Rights Act

("USERRA") to protect the employment rights of military service members upon their return from

service. Among other things, USERRA provides a mechanism to protect service members' pension

benefits so that they do not lose pension credit for time spent serving their country when they

return to work. USERRA provides that upon reemployment, service members are entitled to credit

for their time served for purposes of accrual of pension benefits upon making their required

employee contributions to the pension plan.

       2.      Over time, the City of Dallas has had numerous police officer and firefighter

employees that get called away from their jobs to serve in the military, resulting in gaps in their

employment. Upon return to employment with the City, the service members have made their




PLAINTIFF'S ORIGINAL COMPLAINT – Page 1
         Case 3:20-cv-00168-X Document 1 Filed 01/23/20                  Page 2 of 7 PageID 2



employee contribution to DPFPS. DPFPS has provided the service members with corresponding

credit toward their pension benefits as required by USERRA. However, despite repeated demands,

the City has refused to make its required employer contributions, thereby forcing DPFPS to file

this lawsuit.

                                                II.
                                     JURISDICTION AND VENUE

           3.       This Court has federal question jurisdiction of DPFPS' claims herein under 28

U.S.C. § 1331.

           4.       Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and because

Defendant resides in this district and the claims arose in this district.

                                                   III.
                                                 PARTIES

           5.       Plaintiff Dallas Police and Fire Pension System is a governmental pension system

that provides pension and related benefits to members of DPFPS who are firefighters and police

officers employed by the City of Dallas.

           6.       Defendant City of Dallas is a home rule municipality subject to the laws of the State

of Texas. The City is headquartered in Dallas County, Texas, and may be served by serving the

City Secretary, City of Dallas, Dallas City Hall, 1500 Marilla Street, Room 5 D South, Dallas,

Texas 75201. As a political subdivision of the State of Texas, Defendant City of Dallas is treated

as a private employer for the purposes of an enforcement action arising from USERRA. 1




1
    38 U.S.C. § 4323(i).


PLAINTIFF'S ORIGINAL COMPLAINT – Page 2
      Case 3:20-cv-00168-X Document 1 Filed 01/23/20                          Page 3 of 7 PageID 3



                                             IV.
                                    STATUTORY BACKGROUND

        7.        In 1974, Congress passed the Veterans Reemployment Rights Act of 1974

(VRRA), codified at 38 U.S.C. § 2021. The VRRA provided veterans with certain rights upon their

return to the workforce and barred employment discrimination based upon their military service. 2

In 1994 Congress replaced VRRA with USERRA "to clarify, simplify, and where necessary

strengthen the existing veterans' reemployment rights provisions." 3

        8.        Among the protections provided by USERRA are provisions related to the pension

benefits a servicemember receives from his civilian employer. 4 As a general matter, Section 4318

of USERRA provides that a servicemember's pension benefits will continue to accrue while he is

on active duty:

                  Each period served by a person in the uniformed services shall, upon
                  reemployment ... be deemed to constitute service with the employer
                  ... for the purpose of determining the nonforfeitability of the person's
                  accrued benefits and for the purpose of determining the accrual of
                  benefits under the plan. 5
        9.        To that end, USERRA requires an employer to make contributions to the pension

fund of a reemployed servicemember "in the same manner and to the same extent the allocation

occurs for other employees during the period of service." 6 To determine the amount that an

employer is required to contribute to a servicemember's pension plan while he is on active duty,

USERRA provides as follows:

                  [T]he employee's compensation during the period of service
                  described in subsection (a)(2)(B) shall be computed—




2
  See Pub. L. No. 93-508.
3
  H.R. Rep No. 103-65(I), at 18 (1993) as reprinted in 1994 U.S.C.A.N. 2449, 2451.
4
  38 U.S.C. § 4318.
5
  38 U.S.C. § 4318(a)(2)(B).
6
  38 U.S.C. § 4318(b)(1).


PLAINTIFF'S ORIGINAL COMPLAINT – Page 3
      Case 3:20-cv-00168-X Document 1 Filed 01/23/20                 Page 4 of 7 PageID 4



                 (A) at the rate the employee would have received but for the period
                 of service described in subsection (a)(2)(B), or
                 (B) in the case that the determination of such rate is not reasonably
                 certain, on the basis of the employee's average rate of compensation
                 during the 12–month period immediately preceding such period (or,
                 if shorter, the period of employment immediately preceding such
                 period). 7
        10.      To help ensure that employers would make the contributions prescribed by

USERRA, Section 4318 also provides that "an employer reemploying a person under this chapter

shall…be liable to an employee pension benefit plan for fund any obligation of the plan to

provide the benefits described in subsection (a)(2) and shall allocate the amount of any employer

contribution for the person in the same manner and to the same extent the allocation occurs for

other employees during the period of service." 8

        11.      Notably, the legislative history documented in both the House and Senate Reports

discussing the Employee Pension Benefit Plan section explicitly confirm the intent of Congress to

empower a pension fund provider with a federal cause of action to enforce an employer's funding

obligations arising from Section 4318:

                 Section 4316(b)(1)(A) is intended to provide the pension plan with
                 a claim against the employer for amounts that may be required to
                 fund obligations arising under this section. 9

                 New section 4317(b)(1) would provide that an employer
                 reemploying an individual under chapter 43 will be liable to an
                 employee benefit pension plan for funding any obligation of the plan
                 to provide the benefits. 10




7
  38 U.S.C. § 4318(b)(3)(B).
8
  38 U.S.C. § 4318(b)(1) – emphasis added.
9
  H.R. Rep. 103-65(I) at 36.
10
   S. Rep. 103-158, 1993 WL 432576 at 65.


PLAINTIFF'S ORIGINAL COMPLAINT – Page 4
      Case 3:20-cv-00168-X Document 1 Filed 01/23/20               Page 5 of 7 PageID 5



        12.      In 2008, Congress enacted the Veterans' Benefits Improvement Act ("VBIA"). 11

Among other things, the VBIA clarified that there is no limitations period for filing a claim under

USERRA. 12

        13.      Also, USERRA specifically supersedes any inconsistent or limiting state laws,

provisions and agreements. 13

                                                  V.
                                         FACTUAL BACKGROUND

        The City's Obligation to Make Pension Contributions.

        14.      DPFPS is a governmental pension system that provides pension benefits to police

and fire employees of the City of Dallas. DPFPS is currently governed by Article 6243a-1 of the

Texas Revised Civil Statutes.

        15.      Prior to September 6, 2017, Section 4.02(d) of Article 6243a-1 provided that the

City shall contribute to DPFPS an additional 27½% of pay to police officers and firefighters ("City

Contributions"). Under Article 6243a-1 and the Plan Document, if a member elects to enter the

Deferred Retirement Option Plan ("DROP"), Member Contributions cease, but City Contributions

continue until the member retires. Prior to September 6, 2017, Member Contributions for "Plan A"

members of DPFPS were 6½% of pay. Prior to September 6, 2017, Member Contributions for

"Plan B" members of DPFPS were 8½% of pay. On September 6, 2017, Member and City

Contributions were increased to 13.5% and 34.5%, respectively.

        16.      Over time, at least 100 service members that were reemployed by the City

following a period of military service made their member contributions for the time period they

were on active duty. Collectively, these service members paid over $700,000.00 to DPFPS. These


11
   Pub. L. No. 110-389, 122 Stat 4145.
12
   38 U.S.C. § 4327(b).
13
   38 U.S.C. § 4302(b).


PLAINTIFF'S ORIGINAL COMPLAINT – Page 5
     Case 3:20-cv-00168-X Document 1 Filed 01/23/20                 Page 6 of 7 PageID 6



contributions and corresponding pension credits resulted in additional pension obligations by

DPFPS to the members and their beneficiaries.

       17.     However, the City has refused to make its corresponding employer contributions

for its police and fire service members for those time periods. The total contributions due from

the City exceed $2,000,000.00.

                                           VI.
                                     CAUSE OF ACTION

                                For Violation of 38 U.S.C. § 4318

       18.     The allegations in the preceding paragraphs are incorporated by reference.

       19.     38 U.S.C. § 4318 requires that the City make employer contributions to DPFPS

with respect to service members that are reemployed following leave for active duty who make

their employee contributions.

       20.     Numerous service members that are also members of DPFPS have made their

employee contributions following reemployment with the City after military leave.

       21      The City has not made the corresponding employer contributions.

       22.     DPFPS has made demand to the City for the employer contributions required by

38 U.S.C. § 4318, but the City has refused.

       23.     DPFPS, its members and beneficiaries have been harmed by the City's failure to

make its City Contributions for reemployed service members.




PLAINTIFF'S ORIGINAL COMPLAINT – Page 6
     Case 3:20-cv-00168-X Document 1 Filed 01/23/20                  Page 7 of 7 PageID 7



                                            VII.
                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays:

       a.      That the Court order the City to pay City Contributions for reemployed service
               members;

       b.      That the Plaintiff recover pre-judgment interest at the applicable rate, along with
               costs of court; and

       c.      For such other and further relief at law and in equity to which DPFPS may be
               entitled.

                                              VIII.
                                          JURY DEMAND

       Plaintiff demands a trial by jury of all issues so triable.

Dated: January 23, 2020.

                                               Respectfully Submitted,
                                               CALHOUN &ASSOCIATES

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PLAINTIFF'S ORIGINAL COMPLAINT – Page 7
